  Case 1:09-cv-00467-MAD-ATB              Document 45   Filed 12/01/11     Page 1 of 24



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

FRANCISCO J MOLINA,

                             Plaintiff,
       vs.                                                      1:09-CV-00467
                                                                (MAD/ATB)
STATE OF NEW YORK; NYS OFFICE OF
CHILDREN AND FAMILY SERVICES;
NYS DIVISION FOR YOUTH; LOUIS GOSSETT
JR. RESIDENTIAL CENTER; JOHN A
JOHNSON, Commissioner of the NYS Division for
Youth; JOSEPH IMPICCIATORE, Director of the
Louis Gossett Jr. Residential Center; CYRIL
STEPHENS, Youth Detention Aide at the Louis
Gossett Jr. Residential Center; ARTHUR MYERS,
Youth Detention Aide at the Louis Gossett Jr.
Residential Center; SCOTT PELKY, Youth
Detention Aide at the Louis Gossett Jr. Residential
Center; and “JOHN and JANE DOES,” the names
being fictitious and intended to be the individual(s)
who is/was/were employed at the Louis Gossett Jr.
Residential Center and who caused injury to the
Plaintiff,

                              Defendants.
____________________________________________

APPEARANCES:                                      OF COUNSEL:

PEKNIC, PEKNIC & SCHAEFER                         Sean W. Schaefer, Esq.
1005 West Beech Street
Long Beach, New York 11561
Attorneys for Plaintiff

ERIC T. SCHNEIDERMAN                              Adrienne J. Kerwin, Esq.
ATTORNEY GENERAL OF THE STATE                     Assistant Attorney General
OF NEW YORK
The Capitol
Albany, New York 12224
Attorneys for Defendants



Mae A. D’Agostino, U.S. District Judge:
      Case 1:09-cv-00467-MAD-ATB                    Document 45           Filed 12/01/11          Page 2 of 24



                                MEMORANDUM-DECISION AND ORDER

I.       INTRODUCTION

         Plaintiff Francisco Molina, brought this action for relief under 42 U.S.C.§ 1983 alleging

that defendants Cyril Stephens (“Stephens”) and Arthur Myers (“Myers”) used excessive force

against him in violation of his Eighth Amendment rights.1 Presently before the Court is

defendants' motion for summary judgment pursuant to Rule 56 of the Federal Rules of Civil

Procedure. (Dkt. No. 37). Plaintiff has opposed the motion. (Dkt. No. 41).

II.      FACTS2

         At the time of the incident, plaintiff was 17 years old and a resident of the Louis Gossett,

Jr. Residential Center (“Gossett Center”) in the custody of the State of New York Office of

Children and Family Services (“OCFS”). Defendant Stephens was the Administrator on Duty and

was responsible for all staff and all units at the Gossett Center. Defendant Myers was a Level

Three Youth Detention Aide (“YDA”) responsible for the direct care of the residents.

Incident

         On December 4, 2006, plaintiff was in the gymnasium at the Gossett Center. Plaintiff,

who was prohibited from taking part in gym activities because he was on arm’s length

supervision,3 began doing push-ups and was directed to stop by a YDA.4 Plaintiff continued to do


         1
          On March 3, 2010, United States District Judge Lawrence E. Kahn issued a Memorandum-Decision and
Order on defendants’ motion to dismiss. As a result of that decision and a subsequent stipulation of the parties, the
only remaining cause of action is plaintiff’s Eighth Amendment claim against Stephens and Myers.
        2
          There are few undisputed facts. The background set forth in this section is taken from the exhibits and
evidence submitted by defendants in support of the Motion for Summary Judgment and the exhibits and evidence
submitted by plaintiff in opposition to the Motion for Summary Judgment. To the extent that the parties’ Statements
of Material Facts are supported by the record, the Court will also consider those submissions in the context of the
within motion. The facts recited are for the relevant time period as referenced in the complaint.
         3
             Plaintiff understood arm’s length supervision to mean that he was not allowed to leave the officer’s side.
         4
             The YDA was Ms. Titus. Ms. Titus is not a defendant herein.
                                                          2
   Case 1:09-cv-00467-MAD-ATB                       Document 45          Filed 12/01/11          Page 3 of 24



push-ups resulting in the YDA, “pushing the pin”.5 After Titus alerted the response team, Titus

and Scott Pelky (“Pelky”), plaintiff’s block officer, escorted plaintiff out of the gymnasium.

Plaintiff claims that he walked freely and was not arguing with the officers. As a result of the pin

push, a response team, including defendants Stephens and Myers, arrived at the corridor outside

the gymnasium. Stephens arrived first and claims that plaintiff’s back was against a wall.

Stephens claims that he heard plaintiff cursing at the YDA and being “nasty and disrespectful”,

but not physically acting out. Stephens claims that he stood six to seven inches from plaintiff and

told plaintiff to calm down and be respectful. Plaintiff alleges that Stephens was screaming at

him. Myers arrived and saw Stephens attempting to “de-escalate” the situation. Stephens and

Myers claim that plaintiff became “aggressive” and took a step towards Stephens with balled fists

and attempted to grab him. At that point, Stephens spun plaintiff around and attempted to initiate

a physical restraint technique and place plaintiff in a single-man restraint tactic known as “high

hooks”.6 Stephens claims that as he attempted this maneuver, he was “struggling with the kid”

but also testified that plaintiff, “wasn’t kicking and flailing like that, he was just tugging with me

up on top”. Myers testified that plaintiff was “resisting” and, “thrashing back and forth, trying to

snatch his arms away. You know, grabbing pants and clothes and things of that nature”. Plaintiff

claims he was not using his feet or trying to get away. Stephens claims he, “got [plaintiff] on the

ground as quickly as possible”. Myers testified that Stephens and plaintiff fell to the floor but

that the fall was not “hard”, rather, they didn’t “transition the way I know a restraint’s supposed

to transition”. Plaintiff claims that he was “thrown” to the ground.



         5
             The pin sends a radio signal to a response team.
         6
           Plaintiff describes the restraint as a “choke hold”. According to Stephens, in order to engage the restraint,
the officer gets behind the individual and hooks his arm under both of the individuals armpits and then drops to one
knee and rolls the individual onto his stomach.
                                                             3
   Case 1:09-cv-00467-MAD-ATB                     Document 45           Filed 12/01/11          Page 4 of 24



       Once on the floor, Stephens and plaintiff remained on the floor for fifteen to twenty

seconds. Myers and Stephens testified that Myers offered to take over the “primary position”

because Stephens was struggling to control plaintiff. Stephens also testified that he became

“winded” and had to be accessible if another pin was pulled. Stephens transferred one of

plaintiff’s arms, and then the other, to Myers who then placed plaintiff in high hooks. During this

transition, plaintiff claims he was yelling for the officers to get off of him and let him go. The

transition from Stephens to Myers took approximately ten seconds. At that time, Myers testified

that plaintiff’s head was towards the middle of Myers' lower back, in his groin area. Myers

claims he, “wasn’t in the proper technique at that point. He was still resisting. He wasn’t secure

yet”. Stephens claims that plaintiff was attempting to “grab Myers’ testicles”. Within seconds of

Myers’ taking over the hold, the parties heard a “pop”. Myers released plaintiff’s arm.7

       Plaintiff suffered a fracture to his right arm. Plaintiff was taken to Cayuga Hospital where

x-rays were taken, his arm was casted and placed in a sling. Plaintiff returned to the Gossett

Center later that same evening. The next morning, plaintiff returned to Cayuga Hospital and was

admitted for three days. Plaintiff was discharged and returned to the Gossett Center.

Grievance Procedure and Investigation

       OCFS provides a grievance procedure available to any resident wishing to formally

complain about any aspect of their residency in an OCFS facility, including circumstances of a

physical restraint. As an exhibit in support of the within motion, defendants provide The New

York State Office of Children and Family Services Resident Manual for Non-Secure Facilities

("Manual"). The Manual provides:

                  TABLE OF CONTENTS


       7
           Plaintiff testified that five to eight seconds elapsed between hearing the “pop” and Myers’ release.
                                                               4
Case 1:09-cv-00467-MAD-ATB           Document 45        Filed 12/01/11      Page 5 of 24



          RESIDENT GRIEVANCE PROGRAM
               Reception Center Grievance Process
               The OCFS Ombudsman

   Under the title, Resident Grievance Program, the Manual provides, in relevant part:

          Resident grievance forms are located on each living unit and in an area
          of the facility generally used by residents.

          To file a grievance, you fill out a grievance form and put the
          completed form directly into a locked grievance mailbox.

          After your grievance has been date stamped and given a log number,
          a copy of the grievance will be given to you and the unit administrator.

          Within 7 days from the date stamped on your filed and logged
          grievance, you will receive a written decision on your grievance.

   Under the title, The OCFS Ombudsman, the Manual provides:

          An OCFS ombudsman is a lawyer who specializes in juvenile law and
          the legal rights of young people. The ombudsman helps you with your
          legal problems or questions. The Office of the Ombudsman is part of
          the Commissioner's Office.

          The Ombudsman hears concerns regarding the treatment of residents
          in the OCFS facilities. The ombudsman will also look into any
          complaint believed to be a violation of your legal rights. The
          ombudsman will also try to assist you with legal problems you may
          have which are unrelated to the facility. If you need the help of a
          judge, a lawyer, or community service worker to solve your problem,
          the ombudsman can assist you in contacting that person.

          You may tell your concerns to the counselor assigned to your unit or
          to any other employee.

          If you feel your concerns are not being addressed, you may fill out a
          Resident Grievance Form (See section on Resident Grievance
          Program to find out how to file a grievance).

          Every OCFS facility employee is required to report suspected cases of
          abuse or maltreatment to the New York State Child Abuse Hotline. If
          a facility employee suspects that you have been abused or maltreated,
          the employee must see to it that a report is made to the hotline for
          investigation.

                                     5
   Case 1:09-cv-00467-MAD-ATB                    Document 45           Filed 12/01/11      Page 6 of 24



See Kerwin Aff., Ex. "D" at pps. 3-6.

       Plaintiff claims that a few days after he was released from the hospital, he returned to the

Gossett Center and filed a grievance form complaining that Stephens and Myers used excessive

force. Plaintiff claims he, “filled it out and put it in the box, a little grievance box”. Defendants

claim that a search of the Grievance Log and all other relevant records failed to uncover any

grievance filed by plaintiff in connection with the December 4, 2006 incident.

       On December 18, 2006, plaintiff was interviewed by Annabelle Gardner, a Child Abuse

Specialist employed by the OCFS Syracuse Regional Office.8 Ms. Gardner states that she

conducted an investigation into a report of possible child abuse made to the New York Statewide

Central Register of Child Abuse and Maltreatment hotline on December 4, 2006 regarding an

injury plaintiff received at the Gossett Center. Ms. Gardner interviewed witnesses, including

plaintiff. Ms. Gardner prepared a report of her investigation and concluded that the accusation of

possible child abuse was unfounded. The report, which lists the date of intake as December 5,

2006, indicates that, “[w]hile on another investigation at Louis Gossett Jr. Residential Center, this

investigator was informed by Mr. Germano of this SCR report”.

       In “December 2006", Scot Lamphier, a Level 2 Youth Counselor employed by the OCFS

at the Gossett Center and Assistant Director Ernie Germano conducted an internal investigation of

the December 4, 2006 incident.9 As part of the investigation, Mr. Lamphier interviewed

witnesses, including plaintiff, defendants, Pelky, Titus and other Gossett employees including

other YDA’s in the gymnasium on the day of the incident. Annexed to Mr. Lamphier’s affidavit




       8
           Ms. Gardner prepared an affidavit submitted in support of defendant’s motion.
       9
           In support of the within motion, Mr. Lamphier provided an affidavit.
                                                          6
     Case 1:09-cv-00467-MAD-ATB                Document 45          Filed 12/01/11        Page 7 of 24



is a “Narrative” that contains “Findings” that the force used by Stephens and Myers was not

excessive.10

III.    DISCUSSION

A.      Summary Judgment Standard

        Summary judgment is appropriate where there is no genuine issue of material fact and the

moving party is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(c). Substantive

law determines which facts are material; that is, which facts might affect the outcome of the suit

under the governing law. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 258 (1986). A party

moving for summary judgment bears the initial burden of demonstrating that there is no genuine

issue of material fact and that it is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c);

see Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). If the Court, viewing the evidence in the

light most favorable to the nonmovant, determines that the movant has satisfied this burden, the

burden then shifts to the nonmovant to adduce evidence establishing the existence of a disputed

issue of material fact requiring a trial. See id. If the nonmovant fails to carry this burden,

summary judgment is appropriate. See id.

        Summary judgment pursuant to Federal Rule of Civil Procedure 56 is only appropriate

where admissible evidence in the form of affidavits, deposition transcripts, or other

documentation demonstrates the absence of a genuine issue of material fact, and one party's

entitlement to judgment as a matter of law. See Viola v. Philips Med. Sys. of N. Am., 42 F.3d 712,

716 (2d Cir. 1994). No genuinely triable factual issue exists when the moving party

demonstrates, on the basis of the pleadings and submitted evidence, and after drawing all

inferences and

        10
           Annexed to Mr. Lamphier’s affidavit is a report entitled “Investigation #06-99FC, OCFS #1597-06
Narrative”. The report is unsigned and undated.
                                                         7
     Case 1:09-cv-00467-MAD-ATB           Document 45        Filed 12/01/11      Page 8 of 24



resolving all ambiguities in favor of the non-movant, that no rational jury could find in the

non-movant's favor. Chertkova v. Conn. Gen ‘l Life Ins. Co., 92 F.3d 81, 86 (2d Cir. 1996)

(citing Fed. R. Civ. P. 56(c)).

B.      Failure to Exhaust

        Under the Prison Litigation Reform Act (“PLRA”), an inmate must exhaust all available

administrative remedies prior to bringing a § 1983 action "with respect to prison conditions." See

42 U.S.C. § 1997e(a); see also Porter v. Nussle, 534 U.S. 516, 523-24 (2002) (discussing §

1997e(a) exhaustion requirements). “There is no question that exhaustion is mandatory under the

PLRA and that unexhausted claims cannot be brought in court.” Jones v. Bock, 549 U.S. 199,

200 (2007) (citation omitted). In light of this exhaustion requirement, a federal court must

dismiss a § 1983 complaint brought by an inmate where the prisoner failed to exhaust his

administrative remedies absent “justification for not pursuing [such] remedies.” Giano v. Goord,

380 F.3d 670, 675 (2d Cir. 2004) (citations omitted). As a juvenile in a resident facility, plaintiff

is obligated to exhaust his administrative remedies per the PLRA. Lewis ex rel. Lewis v. Gagne,

281 F.Supp.2d 429, 433 (N.D.N.Y. 2003).

        The Second Circuit has crafted a three-part test for determining whether dismissal of an

inmate plaintiff’s complaint is warranted for failure to satisfy the PLRA’s exhaustion

requirement. McQueen v. County of Albany, 2010 WL 338081, at *7 (N.D.N.Y. 2010) (citing

Hemphill v. New York, 380 F.3d 680, 686 (2d Cir. 2004)). First, “the court must ask whether

[the] administrative remedies [not pursued by the prisoner] were in fact ‘available’ to the

prisoner.” Hemphill, 380 F.3d at 686 (citation omitted). The age of the prisoner and their

familiarity with the grievance procedure are relevant in determining whether the grievance

process was available to the prisoner. Lewis v. Mollette, 752 F.Supp.2d 233, 241 (N.D.N.Y.

                                                  8
   Case 1:09-cv-00467-MAD-ATB             Document 45         Filed 12/01/11       Page 9 of 24



2010) (citations omitted). Second, if those remedies were available, “the court should . . . inquire

as to whether [some or all of] the defendants may have forfeited the affirmative defense of

non-exhaustion by failing to raise or preserve it . . . or whether the defendants' own actions

inhibiting the [prisoner's] exhaustion of remedies may estop one or more of the defendants from

raising the plaintiff's failure to exhaust as a defense.” Id. Third, if the remedies were available

and some of the defendants did not forfeit, and were not estopped from raising, the

non-exhaustion defense, “the Court should consider whether ‘special circumstances' have been

plausibly alleged that justify the prisoner's failure to comply with the administrative procedural

requirements.” Id.

       To determine whether “special circumstances” exist, a court must consider the

“circumstances which might lead usually uncounselled prisoners to fail to grieve in the normally

required way”. Hill v. Tisch, 2009 WL 3698380, at *6 (E.D.N.Y. 2009) (citing Giano, 380 F.3d

at 678). Findings of special circumstances have primarily been established where a plaintiff acted

pursuant to a reasonable interpretation of the regulations. Winston v. Woodward, 2008 WL

2263191, at *10 (S.D.N.Y. 2008). Special circumstances do not exist where plaintiff fails to

allege that, during the time in question, he was laboring under any sort of physical infirmity, or

reasonable misunderstanding of the law, which impeded his attempts to complain. McCloud v.

Tureglio, 2008 WL 1772305, at *14 (N.D.N.Y. 2008). The Second Circuit has recognized that

remedies may sometimes be exhausted through the use of informal channels such as contacting

the OCFS ombudsman with complaints or reporting suspected cases of abuse to the New York

State Child Abuse Hotline. Lewis v. Mollette, 752 F.Supp.2d at 240 (it is reasonable for a plaintiff

to believe that an Internal Abuse Bureau investigation, started several days after an incident

occurred, obviated the need to file a formal grievance or take any other steps).

                                                   9
  Case 1:09-cv-00467-MAD-ATB             Document 45       Filed 12/01/11      Page 10 of 24



       This matter presents facts and issues strikingly similar to those presented in Lewis ex rel.

Lewis v. Gange, 281 F.Supp.2d 429, 436 (N.D.N.Y. 2003). In Lewis, the plaintiff brought a claim

for excessive force and deliberate indifference against the Tryon Residential Facility. Id. at 431.

The defendants moved for summary judgment arguing that the plaintiff failed to exhaust his

administrative remedies. Id. The plaintiff claimed that he filled out a grievance form and

complained to his Youth Division Counselor and YDA. Id. at 431. The plaintiff’s mother also

reported the incident to a senior counselor at the facility and to the New York State Child Abuse

and Maltreatment Center. Lewis, 281 F.Supp.2d at 431. The Court held that the plaintiff did not

exhaust his remedies through formal procedures as he failed to place a grievance in the designated

mailbox and failed to file an appeal after not receiving a response within the applicable time

period. Id. at 433. However, the Court found that the plaintiff informally exhausted his remedies.

First, the Court found that the facility’s formal grievance program was not the exclusive means of

exhaustion. Specifically, the Court reviewed the OCFS handbook and noted that the document,

“impl[ies] that the grievance procedure is not the exclusive means for addressing legal issues

regarding the facility’s treatment of residents.” Id. at 434. The Court cited to the Handbook

noting that, “the grievance program is presented within the context of the other steps a resident

may take to assert their legal rights”. The Court noted:

               the Handbook, after explaining how to contact the OCFS ombudsman,
               lists the following as ways a resident can make his or her concerns
               known about the way he or she is treated:

               You may tell your concerns to the Counselor assigned to your unit or
               to any other employee.

               If you feel your concerns are not being addressed, you may fill out a
               Resident Grievance Form. (See section on Resident Grievance
               Program to find out how to file a grievance.)


                                         10
  Case 1:09-cv-00467-MAD-ATB              Document 45        Filed 12/01/11      Page 11 of 24



               Every OCFS facility employee is required to report suspected cases of
               abuse or maltreatment to the New York State Child Abuse Hotline. If
               a facility employee suspects that you have been abused or maltreated,
               the employee must see to it that a report is made to the Hotline for
               investigation.

Lewis, 281 F.Supp.2d at 434. The Court found that the Handbook did not list the order for the

options nor did it indicate which procedure should be exercised first. Id.

       The Court also found that the facility’s own actions demonstrated that the formal

grievance procedure need not always be followed to address a problem and prompt an

investigation. Id. Specifically, the facility conducted an internal investigation including an

interview of plaintiff within 5 weeks of the incident. Clearly, the facility knew that the plaintiff

was pursuing the matter. Id. The Court held, “[w]hile not the preferred or most efficient channels

of seeking administrative redress, plaintiffs' informal efforts demonstrate a reasonable attempt to

exhaust all possible means before filing in federal court”. Id. (citations omitted). As an

investigation into the incident ensued, it was reasonable for the plaintiffs believe that at least one

effort they took accomplished the same result that filing through the formal process would have

produced. Lewis, 281 F.Supp.2d at 434.

       In this matter, the OCFS Manual utilized by Gossett includes the same list of services,

explaining how to file a grievance and how contact the OCFS ombudsman, as those contained in

Tryon Residential Facility’s Handbook as discussed in the Lewis case. Moreover, as in Lewis, the

Gossett Center Manual presents the OCFS Ombudsman information under the same heading and

in the same context as the Grievance Procedure. Indeed, the Manual contains identical language

regarding how to report complaints to the Counselor. Accordingly, this Court adopts the

reasoning and holding of the Court in Lewis and finds that Gossett's formal grievance procedure




                                                  11
  Case 1:09-cv-00467-MAD-ATB              Document 45        Filed 12/01/11       Page 12 of 24



was not the exclusive means of exhaustion. Moreover, the Handbook did not list the order in

which the options were to be undertaken.

       Further, as in Lewis, plaintiff herein sufficiently exhausted his remedies through informal

procedures. Ms. Gardner’s report indicates that her office was first informed of the incident on

December 4th or 5th. On December 18, 2006, two weeks after the incident, Ms. Gardner

interviewed plaintiff. In February and March 2007, Ms. Gardner continued her investigation

interviewing Titus, Stephens and the OCFS Medical Director. Plaintiff testified that he filled out

a grievance after he returned to Gossett from the hospital. He testified that he placed the form in

"a little grievance box". Plaintiff testified as follows:

               A.      I believe about a day - - it's like a week in a half or two weeks
                       after the whole thing happened with my arm, some lady came
                       to me from - - I don't even know. She told me she was like a
                       human - - what was it - - I don't know. She was from some
                       organization, or something like that, I gues for cases for all
                       that type of abuse and all that kind of stuff.

               Q.       Like Child Protective or something like that?

               A.      Something like Social Services, stuff like that, but I'm not sure
                       of the names that she gave me. So then she came and said,
                       "I'm here to talk to you about what happened with you arm".
                       So, I'm like, "All right." And she asked me, "Do you feel that
                       they abused you physically?" And I said, "Yeah". I gave her
                       a rundown of what happened. I spoke with her and she said
                       something, that she was going to do something with that
                       complaint and she would get back to me.

               Q.       So does she know about this grievance that you were on?

               A.       No. I - -

               Q.      You think there were two separate things. She came in to talk
                       to you - -

               A.      Yes, she came on her own. I tried to tell them that she came
                       on her own. They - - I guess, they seen it on the file, they
                       know, know when something like that happens in jail. So, she
                                           12
  Case 1:09-cv-00467-MAD-ATB             Document 45        Filed 12/01/11        Page 13 of 24



                       came on her own. But the grievance, I put the grievance in the
                       grievance box on my own, and they never - - they never got
                       back to me.

                               *      *       *
                 Q.    Did you ever ask anyone, "What's going on with my
                       grievance?"

                 A.    Not really because after I spoke to the lady, maybe it was
                       because of the time, because I went home December 31st, so
                       maybe it was after I wrote that grievance. You know, the lady
                       came and spoke to me and let me know that you're going
                       home. I said, "I'm going home, that's great." Basically I was
                       worried about - - focusing on home. Cleared my mind about
                       that. So maybe the time frame, because I'm going home, they
                       didn't get back to me. I waited, if I'm not mistaken, the
                       grievance time, seven days to 14 days for them to come speak
                       to you, and then they came - - I mean one of them.

       Based upon the record and the Lewis holding, the Court finds that it was reasonable for

plaintiff to believe that he did not need to take any further action due to Ms. Gardner’s

investigation.

       Finally, Gossett’s own actions and investigations establish that a formal grievance was not

necessary. Two reports were prepared regarding the incident and while Gossett and OCFS

completed their investigations and found the reports of abuse unfounded, defendants clearly knew

that plaintiff was pursuing a claim regarding excessive force. As in Lewis, "defendants were

afforded and took advantage of an opportunity to address" plaintiff's claims. See Lewis, 281

F.Supp.2d at 436. Accordingly, defendants' motion for summary judgment and dismissal of

plaintiff's complaint for failure to exhaust administrative remedies is denied.

C.     Excessive Force

       In the alternative, defendants argue that even if plaintiff’s claims were not subject to

dismissal for failure to exhaust, defendants are entitled to summary judgment because no


                                                 13
  Case 1:09-cv-00467-MAD-ATB              Document 45        Filed 12/01/11       Page 14 of 24



reasonable fact finder could conclude that plaintiff suffered from a deprivation or violation of his

constitutional rights.

        When prison officials are “accused of using excessive physical force in violation of the

Cruel and Unusual Punishments Clause, the core judicial inquiry is . . . whether force was applied

in a good-faith effort to maintain or restore discipline, or maliciously and sadistically to cause

harm.” Hudson v. McMillian, 503 U.S. 1, 6-7 (1992). Claims that prison officials applied

restraints too tightly are analyzed under the Eighth Amendment as claims of excessive force. See

Davidson v. Flynn, 32 F.3d 27 (2d Cir.1994). The extent of any injury suffered by the inmate “is

one factor that may suggest whether the use of force could plausibly have been thought necessary

in a particular situation or instead evinced such wantonness with respect to the unjustified

infliction of harm as is tantamount to a knowing willingness that it occur.” Hudson, 503 U.S. at 7

(citation and quotation marks omitted).

                In determining whether the use of force was wanton and unnecessary,
                it may also be proper to evaluate the need for application of force, the
                relationship between that need and the amount of force used, the threat
                reasonably perceived by responsible officials, and any efforts made to
                temper the severity of a forceful response. The absence of serious
                injury is therefore relevant to the Eighth Amendment inquiry, but does
                not end it.

Id. (citation and quotation marks omitted). In other words, not “every malevolent touch by a

prison guard gives rise to a federal cause of action. The Eighth Amendment's prohibition of cruel

and usual punishments necessarily excludes from constitutional recognition de minimis uses of

physical force, provided that the use of force is not of a sort repugnant to the conscience of

mankind.” Id. at 9.

        An Eighth Amendment claim of cruel and unusual punishment has two components, one

subjective and one objective. Wright v. Goord, 554 F.3d 255, 268 (2d Cir. 2009). The objective

                                                  14
  Case 1:09-cv-00467-MAD-ATB                      Document 45            Filed 12/01/11         Page 15 of 24



component focuses on the harm done, and the defendants' conduct must be “ ‘inconsistent with

the contemporary standards of decency’ and ‘repugnant to the conscience of mankind.’ ” Whitely

v. Albers, 475 U.S. 312, 327 (1986). The court must ask itself whether the alleged conduct was

objectively “harmful enough to establish a constitutional violation.” Wright, 554 F.3d at 268

(quoting Hudson, 503 U.S. at 8) (internal quotation marks omitted). Here, defendant admits that

plaintiff has satisfied the objective prong of the test.

        The subjective component focuses on the motive for the defendants’ conduct, and requires

a showing that the defendant had the necessary “level of culpability,” shown by actions that

exhibit “wantonness” in light of the particular circumstances surrounding the challenged conduct.

Id. (citing inter alia Hudson, 503 U.S. at 7-8). The determination of whether action is “wanton”

turns upon whether the force “was applied in a good faith effort to maintain or restore discipline

or maliciously and sadistically for the very purpose of causing harm.” Hudson, 503 U.S. at 7;

Whitely, 475 U.S. at 320-21 (quoting Johnson v. Glick, 481 F.2d 1028, 1033 (2d Cir. 1973), cert.

denied, 414 U.S. 1033 (1973)). Thus, where a prisoner's claims, together with his evidentiary

proffers could “reasonably, if credited, allow a rational fact finder to find that corrections officers

used force maliciously and sadistically,” then summary dismissal is not appropriate. Wright, 554

F.3d at 269 (emphasizing that the prohibition against cruel and unusual punishment does not

extend to de minimis uses of physical force, provided that the use of force is not “repugnant to the

conscience of mankind”).

        In this regard, the Court finds this matter striking similar to another Northern District case,

Lewis v. Mollette, 752 F.Supp.2d 233 (N.D.N.Y. 2010). In Mollette,11 the plaintiff, a 15 year old

inmate at the Highland OCFS, asserted excessive force claims against employees of the OCFS


        11
             To avoid confusion, the Court will refer to the Lewis v. Mollette matter as "Mollette"
                                                             15
  Case 1:09-cv-00467-MAD-ATB              Document 45         Filed 12/01/11      Page 16 of 24



after his arm was fractured. After a disagreement regarding lockers and school materials, the

defendant Mollette initiated a Physical Restraint Technique ("PRT") attempting to restrain the

plaintiff's arms while pulling down to the floor. Id. at 236. The defendant Keller took the

secondary position and attempted to restrain the plaintiff's legs and then defendant Bahret

replaced Keller in the secondary position. Id. The defendant Gavin arrived and attempted to

secure the primary position but had difficulty because the plaintiff continued to twist and resist.

Id. at 237. Gavin testified that he was involved in the PRT for less than thirty seconds. Mollette,

752 F.Supp.2d at 236. The plaintiff claims that while he was laying on the floor, crying and fully

restrained, Gavin took his left arm from Mollette, who already had control of it, and twisted the

plaintiff's arm. Id. The plaintiff "felt a snap" and his fingers went numb. Id. The plaintiff was

released from the PRT. Id. The following morning, the plaintiff was taken to the hospital and

was diagnosed with a fracture in his left arm. Id.

       The defendants moved for summary judgment arguing that their actions were an exercise

of standard procedure and were done in good faith to restore order. Mollette, 752 F.Supp.2d at

241. The record contained two different versions of the event prompting the Court to comment

that, "[the] defendants' motion utterly ignores the material facts in dispute" Id. at 242. As to the

events leading up to the incident, Mollette claimed that the plaintiff threw his body or some object

into a cabinet. Id. Bahret could not testify regarding the plaintiff's actions prior to the initiation

of the PRT because he arrived after the restraint was in place. Id. Similarly, Gavin testified that

when he arrived both Mollette and Bahret were already using the restraint. Mollette, 752

F.Supp.2d at 242. Keller, who assisted Molette in the initial use of the restraint, testified that the

plaintiff, "became out of control" but he could not recall why. Id. The defendants claimed that

they had difficulty because the plaintiff resisted while the plaintiff argued that Mollette and

                                                   16
  Case 1:09-cv-00467-MAD-ATB               Document 45         Filed 12/01/11       Page 17 of 24



Bahret had him under control. Id. Gavin claimed that the plaintiff's left arm was free and he was

swinging, cursing and twisting the entire time. Id. The plaintiff testified that when Gavin

arrived, Mollette had full control of him so there was no need for Gavin to assist. Mollette,752

F.Supp.2d at 242.

        The Court outlined all of the conflicting versions of events and held,

                 Considering the facts in the light most favorable to plaintiff as must be
                 done, there was no reason for Mollette to institute the PRT regardless
                 of whether it was an approved type of restraint. According to plaintiff,
                 he was walking back from his locker when, unprovoked and without
                 reason, he was tackled by Mollette. Under these facts, Mollette had no
                 reason and was not authorized to initiate the PRT pursuant to the
                 CMPR Manual. Thus any force used by himself and later, Gavin, was
                 excessive. Furthermore, Mollette had Lewis fully under control by the
                 time Gavin arrived on the scene and thus Gavin's involvement in the
                 PRT was not the exercise of standard procedure in a good faith effort
                 to restore order—because order was allegedly already restored.
                 Because there is evidence from which a reasonable jury could find that
                 defendants used excessive force, their motion for summary judgment
                 on this claim will be denied.

Id. at 243.

        Here, plaintiff claims that he was complying with Titus' directives when Stephens and

Myers arrived and that he was calm. Plaintiff testified that when he left the gymnasium with

Pelky and the YDA, he was not arguing with them. He testified that when Stephens arrived, he

"started screaming at me" and that Stephens was "three inches in [his] face". Then, plaintiff

claims, "[h]e screamed at me some more and then he turned me around. When he turned me

around, Steve - - Stephenson put me in a choke hold. So when he had me like that against the

wall (indicating), I was trying - - I was trying get him off of me, telling him to get off of me".

Plaintiff testified:

                 Q.      And what were you doing when he was doing this choke hold?


                                            17
  Case 1:09-cv-00467-MAD-ATB               Document 45         Filed 12/01/11      Page 18 of 24



                A.      Trying to talk, trying to tell him get off of me, because I was
                        like pulling, pulling a little bit against my neck, and that's
                        when I reached up. I'm trying - - I'm trying to like breathe.
                        I'm trying to get space to breathe, and that's when they opened
                        my arms, put them behind my back. Stephenson grabbed my
                        arm put them behind my back.

                                 *         *          *

                Q.      Okay. Were you doing anything to your feet, trying to get
                        away, use your feet, your body to get away?

                A.      I really couldn't. I was focusing on trying to breathe. I was
                        just - - that was all I was worried about really.

        Plaintiff testified that Stephens hooked his arms behind his back and threw him to the

floor. He testified that Stephens asked Myers to switch with him:

                A.      . . . So Myers dropped down on top of me. I'm trying to tell
                        him, "Yo, Myers, yo, let me go". And then when I told him to
                        let me go, he pulled up tighter. And that's when I - - I don't
                        know if I felt it or I heard it, but it was a pop. I know it was a
                        pop.

        Plaintiff testified that while he was on the ground, he was not "moving [his] body,

thrashing or anything like that". After he heard or felt the pop, plaintiff testified that five to eight

seconds elapsed.

        Defendants argue that Stephens placed plaintiff in a restraint in a good faith effort to

restore discipline and that the injury was accidental without any malice. Stephens testified that

when he arrived, plaintiff was outside the gym with his back against the wall with, "fists clenched

up to his side", cursing and "giving Titus crap". Stephens stated that plaintiff was not acting out

on her, just being "nasty and disrespectful". Stephens claims that he told plaintiff to calm down

and that he asked him what happened. Stephens testified:

                A.      . . . He came off the wall after me.

                Q.      What do you mean he came after you?
                                           18
  Case 1:09-cv-00467-MAD-ATB              Document 45         Filed 12/01/11      Page 19 of 24



               A.      Well, he got very aggressive. He came to me, he stepped to
                       me in an aggressive manner. His fists were balled. Before I
                       came to him, he said, don't come near me. You know, don't
                       come. I'm not hearing this bullshit. So you know, I can't have
                       that. I mean, he's got to do the program. He can't stand out
                       there and do that. So, as I'm coming forward, he comes off the
                       wall, comes after me. That's when I had to spin him real quick
                       and get him down.

       Stephens testified that plaintiff grabbed him. Stephens then put plaintiff in a PRT -

physical restraint technique - called high-hooks and got plaintiff to the floor. Stephens conceded

that plaintiff "wasn't kicking and flailing like that. He was just tugging with me up on top" but

testified that he was "struggling with the kid". Stephens testified about the transfer to Myers:

               A.      So, we get the arm, the right arm right here. He gets his arm
                       right underneath the pit, and this part is still flailing. This is
                       where the problem was, because as we were trying to get the
                       arm, Arthur's arm to get right here so we can have this part,
                       we've only go right here (indicating), Francisco was pulling.
                       He was pulling, and we were trying to get the arm back, and
                       the child's arm just - - we just heard something pop.

       At the time they heard "pop", the transfer was not complete. Stephens also claims that

plaintiff was attempting to "grab at Mr. Myer's testicles", "grabbing, scratching his belly, pulling

on his clothes". According to Stephens, plaintiff did not want cuffs to be put on him.

       Myers testified that when he arrived at the scene, Stephens was attempting to de-escalate

the situation and was talking to plaintiff. Myers testified that plaintiff was aggressive towards

Stephens and he allegedly observed Stephens attempt to turn plaintiff and place him in "the

hooks" . Myers stated that plaintiff "started to resist", and he was, "[j]ust trashing back and forth,

trying to snatch his arms away. You know, he was grabbing pants and clothes and things of that

nature". Myers described the "takedown":

               A.      I'm not sure if the takedown was caused by Mr. Stephens or by
                       Francisco. It was kind of like they were all over the place.
                       Francisco was resisting and bending over and doing whatever
                                          19
  Case 1:09-cv-00467-MAD-ATB              Document 45         Filed 12/01/11      Page 20 of 24



                       he could do to get his arms away from Mr. Stephens. So, I
                       don't know if Mr. Stephens actually took him to the floor or
                       that movement transitioned them to the floor.

       Myers testified that when he tried to take over the hold, plaintiff was "all over the place.

He's just elbowing and pulling his arm and trying to get away and trying to resist the restraint".

Myers could not get a proper technique because plaintiff was resisting. At the time plaintiff's arm

broke, Myers was "adjusting from - - he was sort of pulling his arm out of the hook. He was

almost getting away from my grip, almost slipping out. So , I shifted my body just a little bit to

secure him is when I felt his arm pop". Myers testified that he was on the floor with plaintiff

"struggling" for "seconds" before plaintiff's arm broke.

       The record establishes that Pelky and Titus (and perhaps other Gossett employees and

residents) were present during the incident, both before and after the PRT was initiated.

However, the record does not include any statements or deposition testimony from any alleged

witnesses to the incident. The record consists solely of the parties’ varying versions of the events

leading up to and during the maneuver. Viewing the evidence in a light most favorable to

plaintiff, there is clearly an issue of fact as to whether it was necessary for Stephens to initiate the

restraint. Based upon the parties conflicting versions of the events, there are triable issues

regarding the subjective issue of the excessive force claim, i.e., the question of whether

defendants' restraint was “a good faith effort to maintain discipline or maliciously and sadistically

for the very purpose of causing harm.” Kee v. Hasty, 2004 WL 807071, at *17 (S.D.N.Y. 2004);

see also Jackson v. Johnson, 118 F.Supp.2d 278, 289 (N.D.N.Y. 2000) ( the court denied the

defendants’ motion for summary judgment and dismissal of excessive force claim noting, “issues

of fact exist concerning the need for physical force, the amount of force used under the

circumstances, and each defendants’ role in the application of PRT’s”). On a motion for

                                                   20
  Case 1:09-cv-00467-MAD-ATB              Document 45        Filed 12/01/11       Page 21 of 24



summary judgment, the Court will not weigh the parties’ credibility as that matter is for the jury.

Rule v. Brine, Inc., 85 F.3d 1002, 1011 (2d Cir. 1996). Accordingly, defendants' motion for

summary judgment and dismissal of plaintiff's excessive force claim is denied.

D.     Failure to Intervene

       Defendants argue that based upon how quickly the events occurred, neither defendant had

a reasonable opportunity to intervene in the use of force by the other. Plaintiff has not responded

to this argument.

       A corrections worker who, while not participating in an assault upon an inmate, is present

while it occurs may nonetheless bear responsibility for any resulting constitutional deprivation. It

is well-established that a law enforcement official has an affirmative duty to intervene on behalf

of an individual whose constitutional rights are being violated in his presence by other officers.

See Mowry v. Noone, 2004 WL 2202645, at *4 (W.D.N.Y. 2004); see also Curley v. Vill. of

Suffern, 268 F.3d 65, 72 (2d Cir. 2001) (“Failure to intercede results in [section 1983] liability

where an officer observes excessive force being used or has reason to know that it will be.”)

(citations omitted). In order to establish liability on the part of a defendant under this theory, a

plaintiff must prove the use of excessive force by someone other than the individual, and that the

defendant under consideration: (1) possessed actual knowledge of the use by another corrections

officer of excessive force; (2) had a realistic opportunity to intervene and prevent the harm from

occurring; and (3) nonetheless disregarded that risk by intentionally refusing or failing to take

reasonable measures to end the use of excessive force. See id.; see also Espada v. Schneider, 522

F.Supp.2d 544, 555 (S.D.N.Y. 2007). Courts have found that, where officers assault an

individual so quickly that a fellow officer does not have a realistic opportunity to intercede, the

witness officer is not liable for the excessive force. Phillips v. Roy, 2011 WL 3847265, at *6

                                                  21
  Case 1:09-cv-00467-MAD-ATB               Document 45        Filed 12/01/11      Page 22 of 24



(N.D.N.Y. 2011) (citations omitted). For liability to attach to that, “there must have been a

realistic opportunity to intervene to prevent the harm from occurring,” and assessment of the

existence of such a “realistic opportunity” for intervention and prevention is left to the factfinder's

determination. Anderson v. Branen, 17 F.3d 552, 557 (2d Cir.1994).

          Again, the Court relies upon the reasoning of the Court in Lewis v. Mollette. There, the

plaintiff claimed that Mollette was standing directly next to Gavin and permitted Gavin to take

the plaintiff's left arm and thus, could have reasonably prevented the harm from occurring. The

court held that based upon the facts, a jury could conclude that Mollette was standing close

enough to intervene and failed to intervene or stop Gavin from twisting the plaintiff's left arm.

Similarly, a jury could infer that Gavin was liable for failing to intervene because when he

arrived, Mollette was employing force and using an unauthorized PRT.

          Here, Myers testified that he arrived on the scene prior to Stephens’ attempt to restrain

plaintiff. Plaintiff testified that he was in a choke hold for five seconds, standing with his arms

behind him for another ten seconds before being thrown to the ground, and on the ground with

Myers for 15 to 20 seconds before Myers took over. Plaintiff also testified that after Myers took

over the hold, Stephens remained next to them and stood about a foot or two away. Stephens

admitted that he was still present when plaintiff’s arm broke and testified that he was standing for

ten to twelve seconds before he heard “the pop”. As the Court previously held, whether

defendants used excessive force is an issue of fact for the jury. Assuming the facts in a light most

favorable to plaintiff, a jury could conclude that both defendants were standing close enough to

each other and both had an opportunity to intervene and failed to do so. Accordingly, defendants'

motion for summary judgment and dismissal of plaintiff’s claims relating to failure to intervene is

denied.

                                                   22
  Case 1:09-cv-00467-MAD-ATB              Document 45        Filed 12/01/11       Page 23 of 24



E.     Qualified Immunity

       In the alternative, defendants move for summary judgment and dismissal of plaintiff’s

claims on the ground of qualified immunity. Public officials enjoy qualified immunity from

liability under § 1983 “so long as their conduct does not violate a clearly established statutory or

constitutional right.” Richardson v. Selsky, 5 F.3d 616, 621 (2d Cir.1993) (citing Harlow v.

Fitzgerald, 457 U.S. 800, 818-19 (1982)). The Second Circuit has held that “[a] right is clearly

established if: (1) the law is defined with reasonable clarity; (2) the Supreme Court or the Second

Circuit has recognized the right; and (3) ‘a reasonable defendant [would] have understood from

the existing law that [his] conduct was unlawful.’” Luna v. Pico, 356 F.3d 481, 490 (2d Cir.2004)

(quoting Anderson v. Recore, 317 F.3d 194, 197 (2d Cir.2003)).

       In determining whether qualified immunity applies, the Court may first consider whether

“the facts alleged show the [defendant's] conduct violated a constitutional right.” Saucier v. Katz,

533 U.S. 194, 201 (2001), modified by Pearson v. Callahan, 555 U.S. 223 (2009) (holding that

although “the sequence set forth [in Saucier] is often appropriate, it should no longer be regarded

as mandatory”). If the plaintiff establishes that the violation of a constitutional right occurred, the

court can examine “whether the right was clearly established ... in light of the specific context of

the case, not as a broad general proposition.” Saucier, 533 U.S. at 201. “If no constitutional right

would have been violated were the allegations established, there is no necessity for further

inquiries concerning qualified immunity.” Id.

       Having carefully considered the present record, the Court is not well-positioned at this

early stage to dismiss plaintiff's claims on the basis of qualified immunity. The Court finds that

“[r]esolution of qualified immunity depends on the determination of certain factual questions that




                                                  23
  Case 1:09-cv-00467-MAD-ATB            Document 45       Filed 12/01/11     Page 24 of 24



cannot be answered at this stage of the litigation.” Denton v. McKee, 332 F.Supp.2d 659, 666

(S.D.N.Y.2004).

IV.    CONCLUSION

       Accordingly, it is hereby

       ORDERED that defendants’ motion for summary judgment and dismissal of plaintiff’s

complaint (Dkt. No. 37) is DENIED, and it is further

       ORDERED that a Settlement Conference is scheduled in this matter for December 19,

2011 at 11:00 A.M. in Albany. The parties are directed to appear at that time and make

submissions in advance of the conference as directed in this Court’s Order Setting Settlement

Conference.

       IT IS SO ORDERED.

Dated: December 1, 2011
       Albany, New York




                                               24
